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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


                                                       )
UNITED STATES OF AMERICA,                              )
     Plaintiff                                         )
                                                       )
V.                                                     )        CRIMINAL NO. 15-cr-10222
                                                       )
ILIR BREGU,                                            )
      Defendant                                        )
                                                       )

                         DEFENDANT’S SENTENCING MEMORANDUM

         The Defendant, Ilir Bregu, by and through undersigned counsel, respectfully submits this

memorandum in aid of his sentencing scheduled for June 7, 2018.

         I.       CALCULATION OF GUIDELINES

         On Wednesday, March 7, 2018, Mr. Bregu was convicted of one count of Conspiracy to

Possess with Intent to Distribute and to Distribute Oxycodone, a Schedule II Controlled

Substance, in violation of 21 U.S.C. § 846.

         Mr. Bregu objects to the guidelines calculation in the presentence investigation report.

Instead, Mr. Bregu asserts that the offense level should be calculated as follows:

         Co-defendant Mario Scata testified that he began purchasing roughly 200 pills from Mr.

Bregu, escalating to 1,700 pills for the last few trips.1 Given the ambiguous nature of the

testimony, there is no way to determine with certainty the number of pills at issue. However, a

realistic, if not aggressive, estimate could be the following, regarding the 14 trips:

                  •        First 2 trips at 200 pills each time = 400 total
                  •        Then 4 trips at 500 pills each time = 2,000 total
                  •        2 trips at 1000 pills each time = 2,000 total

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 The trial testimony is the best source of information for these calculations. In early April, 2018, Mr. Bregu’s
counsel mailed a motion to the court requesting the Court to authorize the production of a trial transcript without fee,
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               •        2 trips at 1200 pills each time = 2,400 total
               •        4 trips at 1,700 pills each time = 6,800 total
               Total Pills à 13,600 pills.

               Calculation:
               13,600 X 30(mg) = 408,000 mg à Converted to 408 grams X 6,700 (Marijuana
               conversion) = 2,733,600 à Converted to Kilograms = 2,733.6. This puts Mr.
               Bregu at a level 30.

       Mr. Bregu asserts that he should be granted a two-point reduction for his role as a minor

participant, pursuant to USSG §3B1.2(b). A minor participant is someone who is less culpable

than the average participant in the offense, United States v. Brand, 927 F.2d 337, 228 (1st Cir.

1992) (unpublished), which the defendant must prove by a preponderance of the evidence.

United States v. Melendez-Rivera, 782 F.3d 26, 28 (1st Cir. 2015).

       The evidence in the instant case portrayed Mr. Bregu’s participation in the conspiracy as

minor, compared with his co-defendants, the Scatas. A fair portrayal of the evidence against Mr.

Bregu was that he was a delivery driver; a courier. Mario Scata testified that Mr. Bregu

delivered pills to him from New York. No one – not even the FBI – alleged that the pills were

originating from Mr. Bregu; in fact, there was absolutely no follow up in trying to locate the

source of the pills at issue. Certainly, they were not coming from Mr. Bregu’s home.

       Although the role of a courier does not automatically warrant a minor role adjustment,

the District Court has wide discretion in making the determination. United States v. Bravo, 489

F.3d 1, 11 (1st Cir. 2007). Unlike the defendant in United States v. Santos, 357 F.3d 136 (1st

Cir. 2004), who assisted in packaging and inspected the cocaine in addition to delivering the

drugs, Mr. Bregu’s alleged conduct does not involve anything other than making deliveries for

the Scatas. There was no suggestion at trial that Mr. Bregu was otherwise involved in any aspect

of the drug business.



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       In contrast, Mario Scata admitted to actively selling many pills out of his home, and his

son Manuele pleaded guilty not only to dealing drugs, but also illegally carrying a stolen firearm

in conjunction with his drug operation. The FBI agents testified about extensive foot traffic in

and out of the Scatas’ home. While the Scatas seemed to bask in their drug profits, enjoying

home ownership, a business, and trips to Las Vegas, Mr. Bregu lived the life of a pauper with his

family in their Staten Island, New York apartment. The Scatas’ participation in the conspiracy

dwarfed that of Mr. Bregu. With the two-point reduction, Mr. Bregu asserts that his offense

level should be 28.

       II.     ARGUMENT

       An Advisory Guidelines Sentence Should Not Be Applied

       With regard to the United States Sentencing Guidelines, the district court, while not

bound by them, still must consult and consider them when imposing sentence. United States v.

Booker, 543 U.S. 220, 264 (2005). Courts of Appeals cannot disturb a district court’s sentence

unless the appellate court finds that sentence unreasonable. See Id. The United States Supreme

Court clarified post-Booker sentencing procedure in Gall v. United States, 552 U.S. 38 (2007).

The Gall Court indicated that when sentencing a defendant,

               [A] District court should begin all sentencing proceedings by
               correctly calculating the applicable Guidelines range. As a matter
               of administration and to secure nationwide consistency, the
               Guidelines should be the starting point and the initial benchmark.
               The Guidelines are not the only consideration, however.
               Accordingly, after giving both parties an opportunity to argue for
               whatever sentence they deem appropriate, the district judge should
               then consider all of the § 3553(a) factors to determine whether they
               support the sentence requested by a party. In so doing so, he may
               not presume that the Guidelines range is reasonable. He must make
               an individualized assessment based on the facts presented. If he
               decides that an outside-Guidelines sentence is warranted, he must
               consider the extent of the deviation and ensure that the justification
               is sufficiently compelling to support the degree of variance. We

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               find it uncontroversial that a major departure should be supported
               by a more significant justification than a minor one. After settling
               on the appropriate sentence, he must adequately explain the chosen
               sentence to allow for meaningful appellate review and to promote
               the perception of fair sentencing.

552 U.S. at 49-50 (internal citations and quotation admitted). The Supreme Court re-emphasized

the point stating. “[T]he sentencing court does not enjoy the legal presumption that the

Guidelines sentence should apply.” Nelson v. United States, 555 U.S. 350, 351 (2009) (quoting

Rita v. United States, 551 U.S. 338, 351 (2007)). In fact, the First Circuit has summarized the

central principles of the post-Booker and Gall sentencing procedure described above, as follows:

               In the last analysis, a sentencing court should not consider itself
               constrained by the guidelines to the extent of that they are sound,
               case-specific reasons for deviating from them. Nor should a
               sentencing court operate in the belief that substantial variances
               from the guidelines are always beyond the pale. Rather, the court
               “should consider every convicted person as an individual and
               every case as a unique study in the human failings that sometimes
               mitigate, sometimes magnify, the crime and punishment to ensue.”

United States v. Martin, 520 F. 3d 87, 91 (1st Cir. 2008).

       While the First Circuit has noted that sentencing courts must employ “an increased

degree of justification commensurate with an increased degree of variance” from the advisory

sentencing guideline range, it has also held that under a post-Gall rubric, “there is no stringent

mathematical formula that cabins the exercise of the sentencing court’s discretion. Indeed, after

Gall, the sentencing inquiry—once the court has duly calculated the guidelines sentencing

range—ideally is broad, open-ended, and significantly discretionary. At that point, sentencing

becomes a judgment call, and a variant sentence may be constructed based on a complex of

factors whose interplay and precise weight cannot even be precisely described.” Martin, 520 F.3d

at 91-92 (internal citations and quotations omitted) (affirming a 91-month downward departure

from the advisory sentencing guideline range).


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       Against this backdrop, Mr. Bregu respectfully requests this Honorable Court, after

considering the advisory range, not impose a guidelines sentence in this case. Instead, he submits

that a sentence of sixty months in prison, is “sufficient, but not greater than necessary” to comply

with the purposes set forth in 18 U.S.C. § 3553(a)(2).

       The Requested Sentence is Appropriate for Mr. Bregu in Light of the Various Factors Set
       Forth in 18 U.S.C. § 3553(a)

       After determining the guideline range, this Court must consider whether the statutory

factors warrant an ultimate sentence above or below the guideline range. United States v.

Jiménez-Beltre, 440 F.3d 514, 518-19 (1st. Cir. 2006). The Supreme Court has emphasized that

section 3553(a) is “more than a laundry list of discrete sentencing factors; rather, it is a tapestry

of factors, through which runs the thread of an overarching principle.” United States v.

Rodríguez, 527 F.3d 221, 228 (1st Cir. 2008) (citing Kimbrough v. United States, 552 U.S. 85

(2007)). That tenet -- the “parsimony principle” -- instructs “district courts to ‘impose a sentence

sufficient, but not greater than necessary’ to accomplish the goals of sentencing.” Id. (quoting 18

U.S.C. § 3553(a)). Accordingly, Mr. Bregu requests that this Court fashion a non-guidelines

sentence based on his personal history and characteristics, family circumstances, nature of the

crime and the purposes enumerated in the Sentencing Reform Act.

       Mr. Bregu respectfully avers that an appropriate application of 18 U.S.C. § 3553(a)

factors to the circumstances herein, should result in a sentence of sixty months in prison. The

§3553(a) factors generally include (1) the nature and circumstances of the offense and the history

and characteristics of the defendant, (2) the need for the sentence to reflect the seriousness of the

offense, to promote respect for the law, and to provide the defendant with needed educational or

vocational training or medical care, (3) the kinds of sentences available, (4) the kinds of sentence

and the sentencing range established by the United States Sentencing Guidelines, (5) any

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pertinent policy statement, (6) the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct, and (7) the need

to provide restitution to any victim of the offense 18 U.S.C. §3553(a).

               Nature and Circumstances of the Offense
       The Guidelines, Chapter 1 Pt. A(4) explains that, “[t]he Commission intends the
sentencing courts to treat each guideline as carving out a ‘heartland,’ a set of typical cases
embodying the conduct that each guideline describes. When a court finds an atypical case, one to
which a particular guideline linguistically applies but where conduct significantly differs from
the norm, the court may consider whether a departure is warranted.”
       Undersigned counsel urges this Honorable Court to view this case, when fashioning an
appropriate sentence for Mr. Bregu, as falling outside the “heartland” of a typical drug
conspiracy case. Mr. Bregu’s conduct involved transporting oxycodone pills from New York to
Massachusetts, to Mario and Manuele Scata. From there, the Scatas actively sold those pills
from their homes and business. Manuele even carried an illegal gun – illegal because it was
stolen and illegal because he possessed no license. In short, he was a dangerous drug dealer. His
father, Mario, testified that he hasn't worked since 1979. Although he claimed to have started
drug dealing within the past several years, it defies common sense to believe that, having not
worked since 1979, Mr. Scata picked up drug dealing in his 60’s.
       Unlike the active drug dealing of his co-defendants, Mr. Bregu’s conduct is not that of a
typical “drug dealer.” Instead, Mr. Bregu worked long hours at legitimate construction and
trucking jobs to support his wife and children. His wife, Enkelejda, works as a maintenance
worker. The family lived in poverty, barely able to make ends meet, in a Staten Island
apartment.
       There is no allegation that Mr. Bregu engaged in any type of violence during the
conspiracy. Nor did Mr. Bregu ever possess weapons. Instead, Mr. Bregu is before the Court as
a first-time offender, facing the prospect of losing everything that matters in life: his family.


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               History and Characteristics of the Defendant
       Mr. Bregu is a loving husband, father, brother, and son. He has a Criminal History
Category of I, with no prior convictions. Prior to his arrest, Mr. Bregu was a hard working man;
he worked in the construction business, and also as a truck driver with a CDL license, putting in
long hours to help support his family.
        Mr. Bregu was born and raised in Albania, one of four children to parents Neki Bregu
and Shahe Mata. When he was only 17, Mr. Bregu’s father passed away due to Leukemia. His
mother, Shahe, still lives in Albania, although she and Mr. Bregu maintain a strong bond. She
traveled to Boston to be present for her son’s trial in March 2018. Mr. Bregu also continues to
sustain robust and loving relationships with his siblings, especially his younger brother Elton,
who accompanied Shahe to support Ilir at his trial.
       While living in Albania, Mr. Bregu was a soldier in the military. He earned a precise
sharpshooter award and was honorably discharged. Later, he received death threats due to
political pressures in Albania, and sought asylum in the United States. He credits the United
States with saving his and his family’s lives. After arriving here, he sought to enlist in the
United States Army to give back to his new country, intending to serve during our post-9/11
wars. However, he was denied due to his age and lack of documentation. He became a United
States citizen on September 27, 2013.
       Mr. Bregu and his wife, Enkejleda, have been married since 1995. Together, they have
three children: Sandokan, 21, and twins Justin and Jessica, 9. The family lives in Staten Island,
New York. Enkejleda works in the sanitation business as a custodial worker.
       Mr. Bregu comes from a cultural upbringing that does not favor disclosure of addition or
other personal issues. Despite a close relationship with his family, Mr. Bregu shielded them
from his problems when he slipped into drug addiction. They were unaware until the instant
case that Mr. Bregu had tried OxyContin in 2013 and spiraled to the point he was ingesting
10-12 30mg pills per week (around 3-4/day). Ironically, his arrest and subsequent case provided
a jarring wake-up call for Mr. Bregu to become healthy again.

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           The worst punishment for Mr. Bregu is the knowledge that his family is suffering due to
his actions. His children face the prospect of growing up without their father for a significant
period of time. This is especially heartbreaking for Mr. Bregu, given that he lost his own father
at a young age, and placed a special importance on being there for his kids. His wife is barely
hanging on financially, with help from her brother-in-law, Elton. Although Elton has been doing
what he can for his brother’s family, it has become increasingly difficult for him to keep up with
two households, as his own children and wife rely on his support. For someone who has
consistently provided for his family as best he could, Mr. Bregu is depressed at the knowledge
that he will be precluded from taking care of his wife and children while in prison.



                    The Need to Avoid Unwarranted Sentence Disparities

           Every defendant who comes before this Court is different, so it is impossible to make

exact comparisons. However, Mr. Bregu presents the Court with 13 recent examples of

defendants who were found guilty of the same charge with which he was convicted, Conspiracy

to Possess with Intent to Distribute and to Distribute Oxycodone, a Schedule II Controlled

Substance, in violation of 21 U.S.C. § 846:

 Defendant              Date of    Docket Number                       Judge          Guidelines          Sentence
    Name               Sentence                                                         Range             Imposed
Gonzalez,             07/24/2017 4:16-cr-40036-TSH-2             Hillman, J.          21-27 Mo.         Time Served   2


Richard
Difo, Melvin          10/02/2017 1:16-cr-10347-DPW-1             Woodlock, J.         151-188 Mo.       60 Mo.

Tautenhan,            09/01/2017 4:16-cr-40036-TSH-1             Hillman, J.          46-57 Mo.         24 Mo.
John
Turner,               12/19/2017 1:15-cr-10284-GAO-8             O’Toole, J.          41-51 Mo.         Probation
Ashley
Vaughn, Eric          09/18/2017 1:15-cr-10284-GAO-3             O’Toole, J.          63-78 Mo.         24 Mo.

Romano,               06/08/2017 1:15-cr-10284-GAO-1             O’Toole, J.          78-97 Mo.         48 Mo.
Joseph
Alonardo,             05/16/2017 1:16-cr-10131-GAO-1             O’Toole, J.          24-30 Mo.         18 Mo.
Joseph


2
    The docket reflects a time period of just over five months between arrest and sentencing hearing.

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Stevens,            05/04/2017 1:16-cr-10131-GAO-2               O’Toole, J.          12-18 Mo.       Probation
Kevin
Milbury,            01/05/2017 1:15-cr-10284-GAO-7               O’Toole, J.          24-30 Mo.       12 Mo.
Marcelle
Delgado,            03/15/2017 1:16-cr-10138-DJC-1               Casper, J.           24-30 Mo.       24 Mo.
Johnny
McPherson,          11/22/2016 1:14-cr-10211-WGY-1               Young, J.            37-46 Mo.       10 Mo.
Jonathan
Purcell,            06/28/2016 4:15-cr-40011-TSH-5               Hillman, J.          151-188 Mo.     55 Mo.
Marva
Williams,           05/31/2016 4:15-cr-40011-TSH-4               Hillman, J.          46-57 Mo.       12 Mo. + 1 day
Voncille


         As to the defendants above, the average sentence is just over 22 months. Even if the

probation and time-served cases are removed from the calculation, the average sentence of the 10

recent cases becomes 28.7 months. Against this backdrop, even Mr. Bregu’s suggested sentence

of 60 months is more than double the average sentence for similarly situated defendants in this

District. It is important to remind the Court that Mr. Bregu has no criminal history, so there is no

defendant there with a better record listed above, and some with worse records.3 Again, Mr.

Bregu comes before the Court with no prior convictions except for the instant case, a non-

violence drug crime. Mr. Bregu urges this Court to acknowledge that for a significant time

during the pre-trial stage, he was under strict conditions of release, including house arrest for the

last 4+ months leading to trial.

         A guidelines sentence in this case is too much. Instead, a terms of sixty months – five

years – is a lengthy sentence which is “sufficient, but not greater than necessary” for Mr. Bregu.

                  III.     CONCLUSION

         Mr. Bregu respectfully requests this Honorable Court to impose a non-guidelines

sentence of sixty months in prison.




3
 Out of the 13 defendants listed, six fell into a higher criminal history category. The following were at a level II:
Gonzalez, Turner, Vaughn, Romano, and Purcell. Difo was at a level VI.

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                                              Respectfully Submitted
                                              For the Defendant,
                                              ILIR BREGU,


                                              _______________________________
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Dated: June 3, 2018



                                 CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on June 3, 2018.




                                              __________________________
                                              Joseph B. Simons




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